Case 1:16-cr-00124-KAM-CLP Document 69 Filed 08/07/18 Page 1 of 4 PagelD #: 266

AO 245C (Rev, 02/18) quenced Judgment in a Criminal Case (NOTE; Identify Changes with Asterisks (*))
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|
UNITED STATES DISTRICT COURT }
Eastem District of New York if
UNITED STATES OF AMERICA AMENDED JUDGMENT INAC AL qt
¥. pees

Case Number: 16CR124[KAM] ts nit! CULFSS OFFICE
USM Number: 82070-053

Bernard Seidler,Esq. AMS u? 20a

Defendant's Attomey

a
(0) Modification of Supervision Condhionbtis 65.0 G} SeDRR GE:
LD Modification of Imposed Term of Imprisonment for Extraordinary and
Compelling Reasons (18 U.S.C. § 3582(c}{1))
[LJ Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
to the Sentencing Guidelines (18 U.S.C. § 3582(c)2))
C1 Direct Motion to District Court Pursuant [1] 28 U.S.C. § 2255 or
J 18 US.C. § 3559(cX7)
ow Modification of Restitution Order (18 U.S.C. § 3664)

Kensil Dexter Fender

Date of Original Judgment: _ 6/25/2018
(Or Date of Last Amended Judgment)

Reason for Amendment:

(1 Correction of Sentence on Remand (18 U.S.C. 3742()( 1} and (2))

(C1 Reduction of Sentence for Changed Circumstances (Fed. R. Crim.
P. 35(b))

(1 Correction of Sentence by Sentencing Count (Fed. R. Crim. P. 35{a)}

C1 Correction of Sentence for Clerical Mistake (Fed, R. Crim, P. 36)

oe ol See el Wem Neel Sel! Steel Niel gh Tagg Nigel Siege eel et

THE DEFENDANT:

ff pleaded guilty to count(s) _ One of a two-count Superseding Indictment

(2 pleaded nolo contendere to count(s)
which was accepted by the court.

CO was found guilty on count(s)
after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

es
is

it
the Sentencing Reform Act of 1984,

(0 The defendant has been found not guilty on count(s)
fe Count(s) _2 Of the superseding indictment (ef is (are dismissed on the motion of the United States.

ormailing address untiial aes. eet a a duet States Atomney for this district within 30 days of any change ofname, residence,
is en °
the defendant must notify the oburt and United States srtorney of material changes #4 ecobontie ek y paid. Ifo pay restitution,

6/25/2018
Date of Imposition of Judgment

fe USD 2 ee MATSUMOTO

Kiyo A. Matsumoto, USDJ

Name and Title of Judge

8/1/2018
Date

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AO 245C (Rev. 02/18) Amended Judgment in a Criminal Case . .
Sheet 2— Imprisonment (NOTE: Identify Changes with Asterisks (*))

Judgment — Page of

DEFENDANT: Kensi! Dexter Fender
CASE NUMBER: 16CRi24[KAM]

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
total term of :

300 months, with credit for time served since November 18, 2015, the date of his arrest.

&% The court makes the following recommendations to the Bureau of Prisons:
That Mr. Fender be designated to the Fairton Correctional facility to facilitate family visits, Mr. Fender is encouraged to participate

in drug counseling, education, and vocational training programs. In addition, he is encouraged to participate in the BOP's Financial
Responsibility Program to pay his assessment and restitution obligations.

C The defendant is remanded to the custody of the United States Marshal.

The defendant shall surrender to the United States Marshal for this district:
Oat O am OF pm. on
C _asnotified by the United States Marshal.

( _—s The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
0 before 2 p.m. on
Os asnotified by the United States Marshal.
O  asnotified by the Probation or Pretrial Services Office.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at with a certified copy of this judgment.
UNITED STATES MARSHAL
By

DEPUTY UNITED STATES MARSHAL
Case 1:16-cr-00124-KAM-CLP Document 69 Filed 08/07/18 Page 3 of 4 PagelD #: 268

AO 245C (Rev. 02/18} Amended Judgment in a Criminal Case
Sheet 5 — Criminal Monetary Penalties (NOTE: Identify Changes with Asterisks (*))

Judgment — Page 3 of 4

DEFENDANT: Kensil Dexter Fender

CASE NUMBER: 16CR124[KAM]
CRIMINAL MONETARY PENALTIES

The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment JVTA Assessment* Fine Restitution
TOTALS $ 100.00 5 $ 0.00 $ 35,000.00
The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be

entered after such determination.
(%{ The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

[f the defendant makes a partial payment, each payee shall receive an approximately pro ortigned peyarent, unless specified otherwise in
low 5

the priority ord t col , However, t to 18 . § 3664(i), all nonfederal Victims must be paid
Bede tie Und Ses pad eo Om However, Pusan rs
Name of Payee LLoss** Restitution Ordered Priority or Percentage

$24,000.00

TOTALS $__ 35,000.00 $ (35,000.00

Wi Restitution amount ordered pursuant to plea agreement $

0 = The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[] The court determined that the defendant does not have the ability to pay interest, and it is ordered that:
the interest requirement is waived for © fine  & restitution.
C) the interest requirement forthe [fine C1 restitution is modified as follows:

od Findings for he toned oa (Act oF 2015, Pub, 1. No. 114-22. 994, 110, 110A, and 113A of Title 18 for off itted
are - 7 .
after September 13, 1994, but before April 23, 1896 a eS ee ON OF

Case 1:16-cr-00124-KAM-CLP Document 69 Filed 08/07/18 Page 4 of 4 PagelD #: 269

AO 245C (Rev. 02/18} Amended Judgment ina Criminal Case

Sheet 6 —- Schedule of Payments (NOTE: Identify Changes with Asterisks (*))

— Fudgm ent—-Page 4 sof 4

DEFENDANT: Kensil Dexter Fender
CASE NUMBER: 16CR124[KAM]

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:
A [vf Lump sum payment of $ 35,100.00 due immediately, balance due
(not later than or

O inaccordancewith 1 C, OF D, OF E,or CO F below; or
B (2 Payment to begin immediately (may be combined with [1 C, OO D,or uw F below); or

(| Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g-, months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (CO Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g, 30 or 60 days) after release from imprisonment to a
term of supervision; or

E (© Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F uM Special instructions regarding the payment of criminal monetary penalties:
Mr. Fender is ordered to pay restitution in the amount of $35,000, of which $11,000 is owed ta Karol Thwaltes, and $24,000 Is owed to
Lucille Watson, payable as sat forth herein, to the Clerk of Court, U.S. District Court, 225 Cadman Plaza East, Brooklyn, NY 11201 for payment
to the victim's farnily. The Clerk of Gourt shall forward the restitution payments to Karol Thwaites and Lucille Watson at the address known to
the US Attorney's Office and the U.S, Probation Department. Rastitution is due immediately and payable at a minimum rate of $25 per month
from his prison earnings while incarcerated. Restitution payments shall be mailed to the Clerk of Court, United States District Court
{EDNY), 225 Cadman Plaza East, Brooklyn, New York, 11201, and shall reference dockel number, 16cr124[KAM] USA v. Kensil Daxter Fender.
Upon release, Mr. Fender shall pay a monthly minimum restitution amount of 20% of his gross monthly income after deductions required by law
or $200 per month, whichever is greater.
Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shail receive credit for all payments previously made toward any criminal monetary penalties imposed.

(= Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

0s The defendant shall pay the cost of prosecution.

QO

The defendant shall pay the following court cost(s):

Cl The defendant shall forfeit the defendant’s interest in the following property to the United States:

Payments shall be applied in the following order: (1) assessment, 2) restitution principal, (3) restitution interest, (4) fine principal, (5) fine
interest, (6) community restitution, (7) VT A ter: (1) ase {8) pena es and (9) ests, pal is cost of interest a and court cipal ( )

